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   MCMANIMON SCOTLAND & BAUMANN, LLC
   427 Riverview Plaza
   Trenton, NJ 08611
   Andrea Dobin, Esq. (adobin@msbnj.com)                               Order Filed on October 2, 2019
   Counsel to Thomas J. Orr, Chapter 7 Trustee                                    by Clerk
                                                                          U.S. Bankruptcy Court
                                                                           District of New Jersey


                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW JERSEY


   In re:                                            Chapter 7

   ALTENBURG, Miriam,                                Case No. 18-33286 (CMG)

                                 Debtor.


        STIPULATION MEMORIALIZING CONSENT OF SECURED PARTY TO
   SALE OF REAL PROPERTY FREE AND CLEAR OF JUDGMENT LIEN AND ORDER
                           APPROVING SAME

            The relief granted on following pages two (2) through four (4) are hereby ORDERED.




DATED: October 2, 2019
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Case No.    18-33286 (CMG)
Caption:    Stipulation Memorializing Consent of Secured Party to Sale of Over-Encumbered
            Property and Order Approving Same
______________________________________________________________________________


         WHEREAS Miriam R. Altenburg (the “Debtor”) and her husband, Carl H. Altenburg

(“Husband”) jointly own the real property located at 62 Cox Cro Road, Toms River, NJ (the

“Property”); and

         WHEREAS, the Debtor filed a petition under Chapter 13 of the Bankruptcy Code on

November 27, 2018; and

         WHEREAS, by order dated June 18, 2019, the Debtor’s bankruptcy proceeding

converted to a Chapter 7 liquidation; and

         WHEREAS, Thomas J. Orr (the “Trustee”) was appointed to serve as the Chapter 7

Trustee in the Debtor’s bankruptcy proceeding on June 18, 2019; and

         WHEREAS, the Trustee has concluded that there is significant equity above the

mortgage on the Property that would merit its sale; and

         WHEREAS, the Trustee has learned that Garden State Yacht Sales, LLC (“GSYS”)

holds a judgment against the Debtor and her non-debtor Husband which constitutes a lien against

the Property, i.e., an avoidable lien against the Debtor’s interest in the Property, but a valid lien

against the Husband’s interest in the Property; and

         WHEREAS, the Trustee has negotiated an agreement whereby the Property may be sold

for the benefit of the Estate, its creditors and with the consent of the GSYS, which is

memorialized herein.

         NOW, therefore, intending to be legally bound hereby, the parties stipulate and agree

as follows:




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         1.       The Trustee has initiated suit against the Husband to obtain the right to sell the

Husband’s interest in the Property pursuant to 11 U.S.C. 363(h) (the “363(h) Litigation”).

         2.       Upon successful conclusion of the 363(h) Litigation, the Trustee will retain a real

estate agent for the purpose of selling the Property.

         3.       At the time of sale, the net sale proceeds (“Net Proceeds”) will be tendered to the

Trustee. Net Proceeds will be the proceeds following satisfaction of the following obligations:

(i) a commission to the real estate agent; (ii) satisfaction of valid in rem liens against the

Property, including any mortgage (s) and real estate taxes; (iii) closing adjustments and

expenses.

         4.       The Trustee will reserve 50% of the Net Proceeds to be paid to any and all of

Husband’s judgment creditors, including GSYS.

         5.       GSYS stipulates that the Trustee is authorized to represent to the Court that the

Trustee may sell the Husband’s interest in the Property free and clear of its judgment lien, with

its judgment lien to attach to the Husband’s share of the proceeds.

         6.       The undersigned represent and warrant that they have the authority of their

respective clients to agree to the terms this Stipulation and execute same.

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The undersigned consent to the form, substance and entry of the within order.


                                                MCMANIMON SCOTLAND & BAUMANN, LLC
                                                Attorneys for Thomas J. Orr, Chapter 7
                                                Trustee for Miriam Altenburg


Dated: 9/24/19                                     By: /s/ Andrea Dobin
                                                             Andrea Dobin

                                                GREENBAUM, ROWE, SMITH & DAVIS,
                                                LLP, Attorneys for Garden State Yacht Sales,
                                                LLC



                                                By: /s/ Robert J. Flanagan, III
                                                          Robert J. Flanagan, III
Dated: 9/24/19




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